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6
7                        IN THE UNITED STATES DISTRICT COURT
8                               FOR THE DISTRICT OF ARIZONA
9
10   KATHLEEN ARTHUR,                               Case No. CV-17-03242-PHX-DJH
11
                   Plaintiff,                        NOTICE OF SETTLEMENT AS TO
12          vs.                                      DEFENDANT TRANS UNION, LLC
13   KEY BANK USA, N.A.; MACY’S,
14   INC.; DEPARTMENT STORES
     NATIONAL BANK; VERIZON
15   WIRELESS (VAW), LLC; EXPERIAN
     INFORMATION SOLUTIONS, INC.;
16
     EQUIFAX INFORMATION
17   SERVICES LLC; TRANSUNION,
     LLC,
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                   Defendants.
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21          NOTICE IS HEREBY GIVEN that Plaintiff Kathleen Arthur and Defendant Trans
22   Union LLC (“Trans Union”), have settled all claims between them in this matter. The
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     parties are in the process of completing the final settlement documents and expect to file a
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     Stipulated Dismissal with Prejudice within the next thirty (30) days. The parties also request
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26   that the Court retain jurisdiction for any matters related to completing and/or enforcing the
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                                                                          NOTICE OF SETTLEMENT
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1    settlement. This Notice of Settlement is only applicable between Plaintiff and Defendant
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     Trans Union to be excused for all future hearings and deadlines.
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4
5    Respectfully submitted this 14th day of April 2018

6                                                     PRICE LAW GROUP, APC
7
                                                      By: /s/ David A. Chami
8                                                     David A. Chami
                                                      1204 E. Baseline Road, Suite 102
9                                                     Tempe, Arizona 85283
10                                                    Attorneys for Plaintiff
                                                      Kathleen Arthur
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                                                                        NOTICE OF SETTLEMENT
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1                                  CERTIFICATE OF SERVICE
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            I certify that a copy of the foregoing pleading was filed electronically with the Clerk
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     of Court using the CM/ECF system on the 14th day of April 2018. Notice of this filing will
4
     be sent to all parties by operation of the court’s electronic filing system.
5
6
7    /s/ Sandra Padilla
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                                                                           NOTICE OF SETTLEMENT
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